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                                                               February 23, 2023

 BY CM/ECF
 Judge Diane Gujarati
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Courtroom 4B South
 Brooklyn, New York 11201

 Re:                     Request for Extension of Time to Answer
                         Dayan v. Levy et al., Case No. 1:23-cv-00113-DG-SJB

 Dear Judge Gujarati:

 This firm represents Defendants Elie Levy, Michael Kassin, SportLife Brands, LLC, and
 Blackview Capital, LLC in the above-referenced action. We write to respectfully request a short
 extension of three (3) business days for Defendants to answer or otherwise respond to the
 complaint. This is Defendants’ first such request.

 The summons in this case was issued on January 9, 2023. By email on January 10, 2023,
 Plaintiff’s counsel contacted me by e-mail attaching a copy of the complaint. We intially agreed
 that Defendants would respond to the complaint by February 24, 2023. Now, for reasons that
 were not previously foreseeable, Defendants require a short extension of three (3) additional
 business days from February 24 to March 1, 2023. I reached out to Plaintiff’s counsel for his
 consent, and today, at 6:14 P.M., counsel refused my request. The reason stated for declining
 consent was that counsel is “not authorized to grant additional time.”

 Plaintiff has filed no return showing that service of the summons was made on any of the
 Defendants as required by law. Accordingly, no deadline for Defendants’ response has been set
 by the Court. Nor has Plaintiff noticed or requested a waiver of service of the summons pursuant
 to Fed. R. Civ. P. 4(d). Defendants would have timely returned such a waiver, and service of its
 response to the complaint by March 1, 2023 would be well within the time permitted thereunder.

                                                                           Respectfully submitted,

                                                                           /s/Steven J. Cohen
                                                                           Steven J. Cohen
 cc:           All counsel of record (via ECF)
